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 5    Attorney for Defendant
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 6    Exchange, Inc.
 7

 8                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 9
     NEIL EISENBERG,                    )              Case No. 2:24-cv-00894-JCM-NJK
10                                      )
                                        )
11                        Plaintiff,    )
                                        )
12   vs.                                )              JOINT MOTION FOR EXTENSION OF
                                        )              TIME FOR DEFENDANT NATIONAL
13                                      )              CONSUMER TELECOM & UTILITIES
     EQUIFAX INFORMATION SERVICES, LLC; )
     EXPERIAN INFORMATION SOLUTIONS, )                 EXCHANGE, INC. TO FILE ANSWER
14
     INC.; TRANS UNION LLC; NATIONAL    )
                                        )              FIRST REQUEST
15   CONSUMER TELECOM & UTILITIES
                                        )
     EXCHANGE, INC. and VERIZON         )
16   COMMUNICATIONS INC.,               )
                                        )
17                                      )
                          Defendants.
18

19          Defendant National Consumer Telecom & Utilities Exchange, Inc. (“NCTUE”) has

20   requested an extension of time to answer, move or otherwise respond to the Complaint in this

21   matter, to which Plaintiff has no opposition. Accordingly, pursuant to LR IA 6-2, IT IS HEREBY

22   STIPULATED AND AGREED to by and among counsel, that NCTUE’s time to answer, move or

23   otherwise respond to the Complaint in this action is extended from June 19, 2024 through and

24   including July 19, 2024. The request was made by NCTUE so that it can have an opportunity to

25   //

26   //

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 1   collect and review its internal files pertaining to the allegations in the Complaint, and Plaintiff

 2   approves. This stipulation is filed in good faith and not intended to cause delay.

 3          Respectfully submitted, this 14th day of June, 2024.

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 5   CLARK HILL PLLC                                       No opposition
                                                            /s/Gerardo Avalos
 6   By: /s/Gia N. Marina                                  George Haines, Esq.
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13                                                         Attorneys for Plaintiff
14

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18   IT IS SO ORDERED:
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     __________________________
20
     United States Magistrate Judge
21
            June 17, 2024
     DATED: __________________
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